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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                 M IAM I D IV IS ION
                          CASE NO . 17-20275-CR-UNGARO


 UN ITE D STAT ES OF AM ER ICA
                                                            FILED by         D.    .

          Plaintiff
                                                               ACJO 2 1 2218
 V.                                                          STEVEN M LARIMORE
                                                              CLERK U S DIST CT.
                                                              s D cfFLA -MI
                                                                          XMI

 KEV IN FUSCO
          Defendant
                                 /

                 RELIEF REQUESTED PURSUANT TO 28 U .S.C .      2201

 APPEARS , now . Defendant respectfully request this court to declare
 speific rights in law , as follows!


          1) That Defendant in this criminal process. has the right
 to''standing '' being proven by the United States;


          2) That Defendant is protected under Article III of the
 United States Constitution , specifically that ''the Judicial powers
 of   the  United   States . shall only     extend    to   ''cases or
 controversies'';


          3) That     ''injury   in   fact'' is the    ''first and     foremost''
 'element ' to be proven , as regards to 'standing ';


 Submitted this 15th day of August 2018,

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 Kevin Fusco
 Pro Se
 Maxwell AFB , FPC
 Montgomery , AL 36112
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